                                                                                  Electronically Filed
      Case 7:17-cv-00109 Document 1-5 Filed in TXSD on 03/29/17 Page  1 of 12
                                                                  8/12/2016 2:08:47 PM
                                                                                  Hidalgo County District Clerks
                                                                                  Reviewed By: Alexis Bonilla


                            CAUSE NO. C-3779-16-H
                                      ______________________

JESUS BACA AND                                   §           IN THE DISTRICT COURT
MARGARITA BACA                                   §
Plaintiffs                                       §
                                                 §
VS.                                              §           __________ JUDICIAL DISTRICT
                                                 §
ALLSTATE VEHICLE AND PROPERTY                    §
INSURANCE COMPANY AND                            §
TANYA VEGA                                       §
Defendants                                       §           HIDALGO COUNTY, TEXAS

                            PLAINTIFFS’ ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, JESUS BACA AND MARGARITA BACA, complaining of

ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY AND TANYA

VEGA, and for cause of action would show:

                                         I. DISCOVERY

        1. This is a level III discovery case as defined by the Texas Rules of Civil Procedure.

                                          II. PARTIES

        2. Plaintiffs are residents of Hidalgo County, Texas.

        3. Defendant Allstate Vehicle and Property Insurance Company is an Illinois Corporation

engaging in the business of insurance in the State of Texas. The defendant may be served with

process by serving its registered agent for the State of Texas: CT Corporation System, 1999

Bryan Street, Suite 900, Dallas, Texas 75201.

        4. Defendant Tanya Vega is an individual licensed to engage in the business of adjusting

insurance claims in Texas. This defendant can be served at an Allstate Vehicle and Property

Insurance Company office located at P.O. Box 672041, Dallas, Texas 75267 or wherever found.
                                                                                   Electronically Filed
     Case 7:17-cv-00109 Document 1-5 Filed in TXSD on 03/29/17 Page  2 of 12
                                                                 8/12/2016 2:08:47 PM
                                                                                   Hidalgo County District Clerks
                                                                                   Reviewed By: Alexis Bonilla
                                           C-3779-16-H

                                 III. JURISDICTION & VENUE

       5. The subject matter in controversy is within the jurisdictional limits of this court. The

court has jurisdiction over Defendant Allstate Vehicle and Property Insurance Company

(hereinafter “Allstate”) because it is engaging in the business of insurance in the State of Texas

and over Defendant Tanya Vega (hereinafter “Vega”) because she is an adjuster for Allstate who

operates out of an Allstate office in Texas. Venue is proper in this county because the insured

property is situated in Hidalgo County, Texas. Tex. Civ. Prac. & Rem. Code § 15.032.

                                               IV. FACTS

       6. Plaintiffs are the owner of the Texas Homeowner’s Insurance Policy (hereinafter

referred to as “the Policy”), which was issued by Allstate.

       7. Plaintiffs own the insured property, located at 804 E. Cedro Street, Pharr, Texas 78577

(hereinafter referred to as “the Property”).

       8. Allstate sold the Policy insuring the property to Plaintiffs.

       9. On or about August 13, 2015, Plaintiffs sustained extensive physical damage to the

insured Property. During the late afternoon and evening hours of August 13, 2015, strong

supercell thunderstorms moved through the Pharr, Texas area producing heavy rains, and

damaging wind and hail.

       10. Plaintiffs submitted claims to the Defendants against the policy for damages to the

Property as a result of the August 13, 2015 storm. Plaintiffs requested that the Defendants cover

the costs of these repairs pursuant to the policy they entered into with the Defendants.

       11. The Plaintiffs reported the damage to the covered Property to the Defendant Allstate.

The Defendant wrongfully denied Plaintiffs’ claim for full repairs to the Property, even though

the Policy they have with the Defendant provided coverage for losses such as the losses suffered
                                                                                    Electronically Filed
    Case 7:17-cv-00109 Document 1-5 Filed in TXSD on 03/29/17 Page  3 of 12
                                                                8/12/2016 2:08:47 PM
                                                                                    Hidalgo County District Clerks
                                                                                    Reviewed By: Alexis Bonilla
                                          C-3779-16-H

by the Plaintiffs. Additionally, the Defendant under-scoped damages during its inspections,

investigations, and payment and made representation that the policy the Plaintiffs have with

Defendant specifically excluded some repairs.

       12. As of the date of this filing, the Defendant continue to delay in the payment for the

damages to the property. As a result, Plaintiffs have not been paid the full value of the damages

suffered to their home.

       13. Defendant Allstate failed to perform its contractual duties to adequately compensate

Plaintiffs under the terms of the policy. In spite of a demand for proceeds to be paid out in an

amount sufficient to cover the damaged property, Defendant Allstate has categorically refused to

pay the full proceeds available under the policy. Additionally, all conditions precedent to

recovery upon the Policy have been carried out by the Plaintiffs. Defendant Allstate’s conduct

constitutes a breach of the insurance contract between Plaintiffs and Defendant.

       14. Defendant Allstate has misrepresented to Plaintiffs there was no damage to areas of

the home that were damaged, and that all damage covered under the Policy has been accounted

for, even though it has not been paid in full. Defendant Allstate’s conduct constitutes a violation

of the Texas Insurance Code, Unfair Settlement Practices. Tex. Ins. Code §541.060(a)(1).

       15. Defendant Allstate failed to make an attempt to settle Plaintiffs’ claim in a fair

manner, although it was aware of its liability to Plaintiffs under the Policy. Defendant Allstate’s

conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. Tex.

Ins. Code §541.060(a)(2)(A).

       16. Defendant Allstate failed to adequately explain to Plaintiffs the reasons for its offer of

an inadequate settlement. Specifically, Defendant Allstate failed to offer Plaintiffs adequate

compensation, and misrepresented its explanation for why full payment was not being made.
                                                                                  Electronically Filed
    Case 7:17-cv-00109 Document 1-5 Filed in TXSD on 03/29/17 Page  4 of 12
                                                                8/12/2016 2:08:47 PM
                                                                                  Hidalgo County District Clerks
                                                                                  Reviewed By: Alexis Bonilla
                                         C-3779-16-H

Furthermore, Defendant Allstate did not communicate that any future settlements or payments

would be forthcoming to pay for the entire losses covered under the Policy, nor did it provide

any explanation for the failure to adequately settle Plaintiffs’ claim.      Defendant Allstate’s

conduct is a violation of the Texas Insurance Code, Unfair Settlement Practices. Tex. Ins. Code

§541.060(a)(3).

       17. Defendant Allstate refused to fully compensate Plaintiffs, under the terms of the

Policy, even though Defendant Allstate failed to conduct a reasonable investigation. Specifically,

Defendant Allstate performed an outcome-oriented investigation of Plaintiffs’ claim, which

resulted in a biased, unfair, and inequitable evaluation of Plaintiffs’ losses on the Property.

Defendant Allstate’s conduct constitutes a violation of the Texas Insurance Code, Unfair

Settlement Practices. Tex. Ins. Code §541.060(a)(7).

       18. Defendant Allstate failed to accept or deny Plaintiffs’ full and entire claim within the

statutorily mandated time of receiving all necessary information. Defendant Allstate’s conduct

constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. Tex Ins. Code

§542.056.

       19. Defendant Allstate failed to meet its obligations under the Texas Insurance Code

regarding payment of claim without delay. Specifically, it has delayed full payment of Plaintiffs’

claim longer than allowed and, to date, Plaintiffs have not received full payment for their claim.

Defendant Allstate’s conduct constitutes a violation of the Texas Insurance Code, Prompt

Payment of Claims. Tex. Ins. Code §542.058.

       20. Since the date Plaintiffs presented their claim to Defendant Allstate, the liability of

Defendant Allstate to pay the full claim in accordance with the terms of the Policy was

reasonably clear. However, Defendant Allstate has refused to pay Plaintiffs in full, despite there
                                                                                    Electronically Filed
     Case 7:17-cv-00109 Document 1-5 Filed in TXSD on 03/29/17 Page  5 of 12
                                                                 8/12/2016 2:08:47 PM
                                                                                    Hidalgo County District Clerks
                                                                                    Reviewed By: Alexis Bonilla
                                           C-3779-16-H

being no basis whatsoever on which a reasonable insurance company would have relied to deny

the full payment. Defendant Allstate’s conduct constitutes a breach of the common law duty of

good faith and fair dealing.

        21. Defendant Allstate knowingly or recklessly made false representations, as described

above, as to material facts and/or knowingly concealed all or some material information from

Plaintiffs.

        22. As a result of Defendant Allstate’s wrongful acts and omissions, Plaintiffs were

forced to retain the professional services of the attorney and law firm who are representing them

with respect to these causes of action.

                                    V. CAUSES OF ACTION

 Causes of Action against Allstate and Tanya Vega’s Noncompliance with Texas Insurance

                               Code: Unfair Settlement Practices

        23. Defendants, Allstate and Vega’s, conduct constitute multiple violations of the Texas

Insurance Code, Unfair Settlement Practices. TEX. INS. CODE. §541.151.

        24. Defendant, Vega, is liable for its unfair and deceptive acts, irrespective of the fact it

was acting on behalf of Allstate, because it is a “person” as defined by TEX. INS. CODE.

§541.002(2).    The term “person” is defined as “any individual, corporation, association,

partnership, reciprocal or inter-insurance exchange, Lloyd's plan, fraternal benefit society, or

other legal entity engaged in the business of insurance, including an agent, broker, adjuster or life

and health insurance counselor.” TEX. INS. CODE. §541.002(2) (emphasis added). (See also

Liberty Mutual insurance Co. V Garrison Contractors, Inc., 966 S.W. 2d 482, 484 (Tex. 1998)

(holding an insurance company employee to be a “person” for the purpose of bringing a cause of

action against them under the Texas Insurance Code and subjecting them to individual liability).
                                                                                    Electronically Filed
     Case 7:17-cv-00109 Document 1-5 Filed in TXSD on 03/29/17 Page  6 of 12
                                                                 8/12/2016 2:08:47 PM
                                                                                    Hidalgo County District Clerks
                                                                                    Reviewed By: Alexis Bonilla
                                           C-3779-16-H

       25. Defendants, Allstate and Vega’s, unfair settlement practices, as described above, of

misrepresenting to Plaintiffs material facts relating to the coverage at issue, constitutes an unfair

method of competition and an unfair and deceptive act or practice in the business of insurance.

TEX. INS. CODE. §541.060(a)(1).

       26. The unfair settlement practices of Defendants, Allstate and Vega, as described above,

of failing to promptly provide Plaintiffs with a reasonable explanation of the basis in the Policy,

in relation to the facts or applicable law, for the offer of a compromise settlement of Plaintiffs’

claim, constitute an unfair methods of competition and an unfair and deceptive acts or practices

in the business of insurance. TEX. INS. CODE. §541.060(a)(3).

       27. Defendants, Allstate and Vega’s, unfair settlement practices, as described above, of

refusing to pay Plaintiffs’ claim without conducting a reasonable investigation, constitutes an

unfair method of competition and an unfair and deceptive act or practice in the business of

insurance. TEX. INS. CODE. §541.0609(a)(7).

                              Fraud against all Defendant Parties

       28. Defendants Allstate and Vega are liable to Plaintiffs for common law fraud.

       29. Defendants made material misrepresentations to Plaintiffs as to the extent of their

damages, the need for repairs, the quality of their services, and the extent of the coverage

provided by the Policy of those damages.         Each and every one of the representations, as

described above, concerned material facts relied upon by Plaintiffs which Defendants, Allstate

and Vega, knew were false or made recklessly without any knowledge of their truth as a positive

assertion.
                                                                                   Electronically Filed
    Case 7:17-cv-00109 Document 1-5 Filed in TXSD on 03/29/17 Page  7 of 12
                                                                8/12/2016 2:08:47 PM
                                                                                   Hidalgo County District Clerks
                                                                                   Reviewed By: Alexis Bonilla
                                           C-3779-16-H

       30. The statements were made with the intention that they should be acted upon by

Plaintiffs, who in turn acted in reliance upon the statements proximately causing Plaintiffs to

suffer injury and damages as described herein below.




                 Conspiracy to Commit Fraud against all Defendant Parties

       31. Defendants Allstate and Vega are liable to Plaintiffs for conspiracy to commit fraud.

Defendants Allstate and Vega were members of a combination of two or more persons whose

object was to accomplish an unlawful purpose by unlawful means. In reaching a meeting of the

minds regarding the course of action to be taken against Plaintiffs, Defendants, Allstate and

Vega, committed an unlawful, overt act to further the object of the conspiracy.             Plaintiffs

suffered injury as a proximate result.

                    CAUSES OF ACTION AGAINST ALLSTATE ONLY

       32. Defendant Allstate is liable to Plaintiffs for breach of contract, as well as intentional

violations of the Texas Insurance Code and intentional breach of good faith and fair dealing.

                                         Breach of Contract

       33. Defendant Allstate’s conduct as described supra constitutes a breach of the insurance

contract made between Allstate and Plaintiffs.

       34. Defendant Allstate’s failure and refusal, as described above, to pay the adequate

compensation as it is obligated to do under the terms of the Policy in question and under the laws

of the State of Texas, constitutes a breach of Allstate’s insurance contract with Plaintiffs which

proximately caused Plaintiffs the loss of the policy benefits.

          Noncompliance with Texas Insurance Code: Unfair Settlement Practices
                                                                                    Electronically Filed
    Case 7:17-cv-00109 Document 1-5 Filed in TXSD on 03/29/17 Page  8 of 12
                                                                8/12/2016 2:08:47 PM
                                                                                    Hidalgo County District Clerks
                                                                                    Reviewed By: Alexis Bonilla
                                           C-3779-16-H

       35. Defendant Allstate’s conduct constitutes multiple violations of the Texas Insurance

Code, Unfair Settlement Practices. TEX. INS. CODE. §541.060(A). All violations under this

article are made actionable by TEX. INS. CODE. §541.151.

       36.   Defendant     Allstate’s unfair   settlement   practice,   as   described    above,      of

misrepresenting to Plaintiffs material facts relating to the coverage at issue, constitutes an unfair

method of competition and an unfair and deceptive act or practice in the business of insurance.

TEX. INS. CODE. §541.060(a)(1).

       37. Defendant Allstate’s unfair settlement practice, as described above, of failing to

attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claim, even

though Allstate’s liability under the Policy was reasonably clear, constitutes an unfair method of

competition and an unfair and deceptive act or practice in the business of insurance. TEX. INS.

CODE. §541.060(a)(2)(A).

       38. Defendant Allstate’s unfair settlement practice, as described above, of failing to

promptly provide Plaintiffs with a reasonable explanation of the basis in the Policy, in relation to

facts or applicable law, for their offer of a compromise settlement of the claim, constitutes an

unfair method of competition and an unfair and deceptive act or practice in the business of

insurance. TEX. INS. CODE. §541.060(a)(3).

       39. Defendant Allstate’s unfair settlement practice, as described above, of failing within a

reasonable time to affirm or deny coverage of the claim to Plaintiffs, or to submit a reservation of

rights to Plaintiffs, constitutes an unfair method of competition and an unfair and deceptive act or

practice in the business of insurance. TEX. INS. CODE. §541.060(a)(4).

       40. Defendant Allstate’s unfair settlement practice, as described above, of refusing to pay

Plaintiffs’ claim without conducting a reasonable investigation, constitutes an unfair method of
                                                                                    Electronically Filed
    Case 7:17-cv-00109 Document 1-5 Filed in TXSD on 03/29/17 Page  9 of 12
                                                                8/12/2016 2:08:47 PM
                                                                                    Hidalgo County District Clerks
                                                                                    Reviewed By: Alexis Bonilla
                                           C-3779-16-H

competition and unfair and deceptive act or practice in the business of insurance. TEX. INS.

CODE. §541.060(a)(7).




        Noncompliance with Texas Insurance Code: The Prompt Payment of Claims

       41. Defendant Allstate’s conduct constitutes multiple violations of the Texas Insurance

Code, Prompt Payment of Claims. All violations made under this article are made actionable by

TEX. INS. CODE. §542.060.

       42. Defendant Allstate’s failure to acknowledge receipt of Plaintiffs’ claim, commence

investigation of the claim, request from Plaintiffs all items, statements, and forms that they

reasonable believed would be required within the applicable time constraints, and pay the full

amount of the claim, as described above, constitutes a non-prompt payment of claim and a

violation of the TEX. INS. CODE §542.056(a).

                        Breach of Duty of Good Faith and Fair Dealing

       43. Defendant Allstate’s conduct constitutes a breach of the common law duty of good

faith and fair dealing owed to an insured in insurance contracts.

       44. Defendant Allstate’s failure, as described above, to adequately and reasonably

investigate and evaluate Plaintiffs’ claim when Allstate knew, or should have known, by the

exercise of reasonable diligence that its liability was reasonably clear, constitutes a breach of the

duty of good faith and fair dealing which proximately caused Plaintiffs’ damages as described

herein below.

                                         KNOWLEDGE
                                                                                     Electronically Filed
    Case 7:17-cv-00109 Document 1-5 Filed in TXSD on 03/29/17 Page 10 of 2:08:47
                                                                8/12/2016 12 PM
                                                                                     Hidalgo County District Clerks
                                                                                     Reviewed By: Alexis Bonilla
                                           C-3779-16-H

       45. The acts of Defendants are in violation of the Insurance Code described above were

done “knowingly,” as that item is used in the Texas Insurance Code, and were producing causes

of Plaintiffs’ damages described herein.

                                           VI. DAMAGES

       46. Plaintiffs will show that all of the aforementioned acts, taken together or singularly,

constitute the proximate or producing causes of the damages sustained by Plaintiffs.

       47. As previously mentioned, the damages caused by the storms described above

rendered Plaintiffs’ property substantially damaged. These damages have not been properly

addressed or repaired in the months since the storm, causing further damages to the Property and

causing undue hardship and burden to Plaintiffs. These damages are a direct result of

Defendants', Allstate and Vega’s, mishandling of Plaintiffs’ claim in violation of the laws set

forth above.

       48. For breach of contract, Plaintiffs are entitled to regain the benefit of their bargain,

which is the amount of their claim, together with attorneys' fees.

       49. For noncompliance with the Texas Insurance Code, Unfair Settlement Practices,

Plaintiffs are entitled to actual damages, which include the loss of the benefits that should have

been paid pursuant to the policy, mental anguish, court costs and attorney's fees.

       50. For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiffs

are entitled to the amount of their claim, as well as eighteen (18) percent interest per annum of

the amount of such claim as damages, together with attorney's fees. TEX. INS. CODE. §542.060.

       51. For breach of the Common Law duty of good faith and fair dealing, Plaintiffs are

entitled to compensatory damages, including all forms of loss resulting from the insurer's breach

of duty, such as additional costs, economic hardship, losses due to nonpayment of the amount the

insurer owed, exemplary damages and damages for emotional distress.
                                                                                    Electronically Filed
    Case 7:17-cv-00109 Document 1-5 Filed in TXSD on 03/29/17 Page 11 of 2:08:47
                                                                8/12/2016 12 PM
                                                                                    Hidalgo County District Clerks
                                                                                    Reviewed By: Alexis Bonilla
                                           C-3779-16-H

        52. For fraud, Plaintiffs are entitled to recover actual damages and exemplary damages

for knowing fraudulent and malicious representations, along with attorneys' fees, interest and

court costs.

        53. For the prosecution and collection of this claim, Plaintiffs have been required to retain

the services of the undersigned attorneys and is entitled to recover their reasonable and necessary

attorneys' fees.

        54. As a result of the knowing violations of the Texas Insurance Code, Plaintiffs are

entitled to recover treble damages pursuant to the provisions of the Texas Insurance Code.

        55. In accordance with Rule 47, as amended, and with the information currently

available, Plaintiffs seek monetary relief of no more than $75,000.00.

                                 VII. WRITTEN DISCOVERY

                                     Requests for Disclosure

        56. Under Texas Rule of Civil Procedure 194, Plaintiffs request that defendants disclose,

within 50 days of the service of this request, the information or material described in Rule 194.2.

        Plaintiffs’ 1st Requests for Production to Defendants Allstate and Tanya Vega

        57. Please produce a copy of your entire claims file, including memos, emails, estimates,

records, a complete copy of the policy, letters, evaluations, etc. If you make claim of privilege

for any documents requested in this request for production, then pursuant to TRCP 193.3(b),

consider this Plaintiffs’ request that you identify the information and material withheld and the

specific privilege asserted by producing a privilege log of each document withheld.

                                          VIII. PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that upon trial hereof, said

Plaintiffs have and recover such sums as would reasonably and justly compensate them in
                                                                                      Electronically Filed
    Case 7:17-cv-00109 Document 1-5 Filed in TXSD on 03/29/17 Page 12 of 2:08:47
                                                                8/12/2016 12 PM
                                                                                      Hidalgo County District Clerks
                                                                                      Reviewed By: Alexis Bonilla
                                            C-3779-16-H

accordance with the rules of law and procedure, as to actual damages, treble damages under the

Texas Insurance Code, and all punitive and exemplary damages as may be found. In addition,

Plaintiffs request the award of attorney's fees for the trial and any appeal of this case, for all costs

of Court on their behalves expended, for prejudgment and post-judgment interest as allowed by

law, and for any other and further relief, either at law or in equity, to which they may show

themselves justly entitled.

                                                        Respectfully submitted,

                                                        LAWRENCE LAW FIRM
                                                        3112 Windsor Rd., Suite A234
                                                        Austin, Texas 78703
                                                        (956) 994-0057
                                                        (800) 507-4152 FAX



                                                        By:

                                                        LARRY W. LAWRENCE, JR.
                                                        State Bar No. 00794145

                                                        MICHAEL LAWRENCE
                                                        State Bar. No. 24055826
                                                        Lawrencefirm@gmail.com

                                                        Cartwright Law Firm, LLP
                                                        1300 Post Oak Blvd, Suite 760
                                                        Houston, Texas 77056
                                                        (713) 840-0950
                                                        (713) 840-0046 (fax)
                                                        Mr. Dan Cartwright
                                                        State Bar No. 03942500

                                                        Ms. Lory Sopchak
                                                        State Bar No. 24076706
                                                        Lory@dcartwrightlaw.net

                                                        ATTORNEYS FOR PLAINTIFFS
